              Case 3:23-cv-01304-BAJ-EWD                    Document 266            06/10/25        Page 1 of 2

PAU L, W EIS S, R I FK IN D, W HA RTON & G A RR I SO N L L P                                                       Brussels
                                                                                                                   Hong Kong
1285 Avenue of the Americas                                                                                        London
New York, NY 10019-6064                                                                                            Los Angeles
                                                                                                                   San Francisco
+1 212 373 3000
                                                                                                                   Tokyo
Jeremy Benjamin                                                                                                    Toronto
Direct Dial: +1 212 373 3502                                                                                       Washington, D.C.
Email: jbenjamin@paulweiss.com                                                                                     Wilmington




       June 10, 2025

       Hon. Brian A. Jackson
       Russell B. Long Federal Building and United States Courthouse
       777 Florida Street, Suite 139
       Baton Rouge, LA 70801

              Re:       Voice of the Experienced, et al., v. LeBlanc, et al., No. 3:23-cv-1304-BAJ-EWD

       Dear Judge Jackson,

              We write on behalf of all parties in the above-captioned action to update the Court
       concerning the heat index at Louisiana State Penitentiary (“LSP”) during the period June 2–June
       6, 2025, 1 consistent with the protocol the parties jointly proposed in their June 21, 2024 letter.

               The heat index data listed below was recorded by the National Weather Service (“NWS”)
       at the New Roads False River Regional Airport. As noted below, the NWS did not publish any
       weather data from the New Roads False River Regional Airport for certain time spans on June 2–
       6. The NWS data underlying this summary is attached as Exhibit A to this report. Defendants
       attach as Exhibit B Daily Line Counts, which document activities for the day.

       •   Monday, June 2: The heat index at LSP did not meet or exceeded 88 degrees 2 Fahrenheit. 3
           According to Defendants, the Farm Line was operating on this day.

       •   Tuesday, June 3: The heat index at LSP met or exceeded 88 degrees Fahrenheit from 11:35
           a.m. to 11:55 a.m., from 1:15 p.m. to 1:35 p.m., and from 5:55 p.m. to 6:35 p.m. 4 According
           to Defendants, the Farm Line was not operating during this time period.




       1
           Because Defendants report that the Farm Line operates on weekdays only, this summary does not include
           weekend heat data.
       2
           Because a heat alert is issued once the heat index reaches 91 degrees pursuant to HCP8, Defendants object to
           using 88 degree heat index threshold in the weekly reporting.
       3
           On June 2, NWS did not record any date from 10:55 a.m. to 8:15 p.m.
       4
           On June 3, NWS did not record any data from 9:15 a.m. to 9:55 a.m., from 11:55 a.m. to 12:55 p.m., or from
           1:35 p.m. to 5:55 p.m., or at 9:55 p.m.
              Case 3:23-cv-01304-BAJ-EWD                    Document 266            06/10/25       Page 2 of 2

PAUL, WEISS, RIFKIND, WHARTON & GARRI SO N LLP                                                                   2




      •     Wednesday, June 4: The heat index at LSP met or exceed 88 degrees Fahrenheit from 10:15
            a.m. to 11:15 a.m. and from 8:15 p.m. to 8:55 p.m. 5 According to Defendants, the Farm Line
            was operating during some of this time period.

      •     Thursday, June 5: The heat index at LSP met or exceeded 88 degrees Fahrenheit from 9:15
            a.m. to 11:55 a.m. and from 8:55 p.m. to 9:15 p.m. 6 According to Defendants, the Farm Line
            was operating during some of this time period.

      •     Friday, June 6: The heat index at LSP met or exceeded 88 degrees Fahrenheit from 8:55 a.m.
            to 10:15 a.m. 7 According to Defendants, the Farm Line was operating during this time
            period.

               The parties stand ready to answer any questions the Court may have and thank the Court
      for its attention to this matter.

                                                           Respectfully submitted,

                                                           /s/ Jeremy Benjamin

                                                           Jeremy Benjamin

      cc:       All Counsel of Record (via ECF)




      5
            On June 4, NWS did not record any data from 11:15 a.m. to 7:55 p.m.
      6
            On June 5, NWS did not record any data from 11:55 a.m. to 2:20 p.m. or from 2:20 p.m. to 8:55 p.m.
      7
            On June 6, NWS did not record any data after 10:15 a.m.
